Case 3:06-cr-30167-NJR     Document 288 Filed 01/10/08       Page 1 of 1   Page ID
                                     #780



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,


Plaintiff,

v.

SCOTT RIDDLE,

Defendant.                                         No. 06-CR-300167-DRH

                                     ORDER


HERNDON, Chief Judge:

             On January 7, 2008, the Court allowd Riddle up to and including

January 10, 2008 to file objections to the Pre-Sentence Report (Doc. 286). On

January 10, 2008, Riddle filed his objections to the Pre-Sentence Report (Doc. 287).

To ensure that the Court and the parties are fully prepared for the sentencing, the

Court CONTINUES the sentencing set for January 11, 2008 to March 28, 2008 at

9:30 a.m.

             IT IS SO ORDERED.

             Signed this 10th day of January, 2008.

                                                   /s/   DavidRHer|do|
                                                   Chief Judge
                                                   United States District Court
